Case 1:19-mc-00342-DKW-KJM Document 1-1 Filed 09/13/19 Page 1 of 2            PageID #: 5




  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-170 Hualalai Road, Suite B204
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 464-4047
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

                                         )
  In re Subpoena to                      )     19-mc-342
                                         )
  Cloudflare, Inc.                       )
                                         )

                 DECLARATION PURSUANT TO 17 U.S.C. 512(h)

        KERRY S. CULPEPPER, hereby declares under penalty of law that the

  following is true and correct:

        1.     I am an attorney licensed to practice law in Hawai’i and represent

  Millennium Films the owner of the copyright in the motion picture Angel Has Fallen.

        2.     This declaration is made in support of the accompanying subpoena,

  pursuant to 17 USC 512(h)(2)(C).

        3.     The purpose of the accompanying Subpoena is to obtain the identity of

  the alleged copyright infringer(s), namely the individuals who are promoting and/or

  distributing the streams of the motion picture. The information obtained will be used

  only for the purpose of protecting the rights granted to the copyright owner(s).



  20-0131D
Case 1:19-mc-00342-DKW-KJM Document 1-1 Filed 09/13/19 Page 2 of 2           PageID #: 6




       I declare under penalty of perjury that the foregoing is true and correct.


       DATED: Kailua-Kona, Hawaii, September 13, 2019.

                                 CULPEPPER IP, LLLC


                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

                                 Attorney for Owner/Requestor




                                           2
  20-0131D
